Case 3:09-cv-05191-CRB   Document 119-14   Filed 01/14/11   Page 1 of 7




                EXHIBIT N
                        Case 3:09-cv-05191-CRB            Document 119-14        Filed 01/14/11      Page 2 of 7


                                                                                                  2001 Center Street, Fourth Floor
                                                                                                        Berkeley, CA 94704-1204
                                                                                                          Phone (510) 665-8644
                                                                                                             Fax (510) 665-8511
                                                                                            Via Email and U.StAttail)) 665-8716
DISABILITY RIGHTS A DVOCATES                                                                                   www,dralegalorg
 BOARD OF DIRECTORS
  William F. Alderrnn non-profit corporation
  Orrick, Heningion & Sutcliffe LLP
  Leslie Aoyama                           Wendy Brenner
  Nordstrom Inc.
  Mark A, Chavez
                                          Cooley Godward Kronish, LLP
  Chavez & Gedlor LLP
  Linda Dardarian
                                          Five Palo Alto Square
  Goldstein, Demchak, Batter,
  Borgen & Darctarian
                                          3000 El Camino Real
  Benjamin Foss
  Intel Corporation
                                          Palo Alto, CA 94306-2155
  Lucy Lee Helm
  Starbucks Coffee Company
  Pat Kirkpatrick                         January 11, 2011
  Fundraising Consultant
  Joshua Konecky
  Schneider Wallace Cottrell
  Brayton Konecky LLP                            Re:    Enyart v. National Conference of Bar Examiners
  Janice L. Lehrer-Stein                                Proposed Preliminary Injunction Order
  Consultant
  Bonnie Lewkowicz
  Access Northern California
  Jessica Lorenz
  Independent living Resource Center
                                          Dear Wendy,
  San Francisco
  Laurence Paradis
  Disability Rights Advocates             This letter responds to NCBE's offer regarding alternatives to the
  Eugene Alfred Pinover
  Wale Fan- & Gallagher LLP               availability of someone with administrative privileges, which you
  Cristina Rubke
  Shatisis Riese LLP                      conveyed via telephone, today, following the conversation between the
  Michael P. Stanley                      parties' technical advisors on Friday, January 7, 2011.
  Legal Consultant
 ATTORNEYS AND FELLOWS
  Laurence Paradis
  Executive Director                      In our telephone call, you explained that NCBE's understanding is that
  Sid Wolinsky
  Litigation Director                     no one knows what caused the problems that Stephanie described on
  Melissa Kasnitz
  Managing Attorney
                                          the July and August exam administrations; that the problem would not
  Kevin Knestrick
  Supervising Staff Attorney
                                          have been fixed by the availability of someone with administrative
  Mary-Lee Kimber Smith
  Staff Attorney
                                          privileges; and that the problem was resolved, because Stephanie was
  Anna Levine
  Staff Attorney
                                          able to finish the exam. You indicated that what NCBE is willing to offer
  Ronald Elsberry                         is the following:
  Staff Attorney
  Julia Pinover
  Staff Attorney
  Karla Gilbride                             (1)An additional conversation between the parties' technical
  Staff Attorney
  Becca Von Behren
                                                advisors, so long as the technical person is the same person who
  Staff AfforneY
  Rebecca Williford
                                                will assist Stephanie during her set-up and testing of the laptop
  LO Access /Ryder Foundation Fellow
  Elizabeth Leonard
                                                and peripherals on February 17, 2011;
  Penn Law Public Interest Fellow            (2)For NCBE to test the laptop with Stephanie's peripherals
  Kara Werner
  John W Carson / LB Access Fellow              (monitor, keyboard, and mouse), if she will ship them, or if she
 ADVISORY BOARD
  Joseph Cotchett
                                                will designate their make and model, to test the laptop with the
  Catchall, Pitre & McCarthy                    same make and model peripherals insofar as they are available.
  Hon. Joseph Grodin
  Retired Justice, Calif. Supreme Court
  Kathleen Hallberg
  Zifiren, Britlenham & Branca            I asked if NCBE is willing to take responsibility for the working order of
  Karen Kaplowitz                         the hardware and software, such that when Stephanie sets up the
  New Ellis Group
  Hon. Charles Renfrew
  Retired, United States District Judge
                                          laptop with her peripherals and it is not in working order, NCBE will be
  Margaret R. Roisman
  Roisman Henel LLP
                                          in violation of the court's order. You responded that NCBE absolutely is
 Guy T. Saperstein                        unwilling to agree to such a condition. You indicated that the language
 Todd Schneider
  Schneider Wallace Cottrell              of the order would instead need to be the same as that negotiated for
  Brayton Konecky LLP
  Fernando M. Torres-Gil, Ph.D.           the purpose of prior orders: that NCBE does not guarantee the
  University of Calif Los Angeles
  Gerald Uelmen                           interoperability of
  Santa Clara University School of Law
 Case 11,
January 3:09-cv-05191-CRB
          2011                  Document 119-14        Filed 01/14/11     Page 3 of 7
Page 2

Stephanie's peripherals with the computer it provides. You reiterated that when the
laptop leaves NCBE, it will be in working order, and that NCBE will not guarantee that it
works once Stephanie adjusts it to her settings and sets up her peripherals.
NCBE's two counter-proposals do not address the problems with NCBE's laptop during
Stephanie's prior exam administrations. More to the point, we seem to be unable to
come to agreement about NCBE's responsibility to address such problems if and when
they do occur. Because of this fundamental disconnect, our client will not accept
NCBE's proposals.
As we indicated in our letter of January 5, 2011, failing our preference to resolve all
issues regarding accommodations on the February MBE by stipulation, Stephanie will
move for an injunction, now by January 14, 2011, as provided in the court's order
granting our Motion to Shorten Time, to get the accommodations she needs in place in
time for the February test administration.
With our January 5, 2011 letter, we provided both a draft stipulation that encompassed
the question of administrative privileges, and one that addressed all other issues, while
reserving Stephanie's right to pursue the question of administrative privileges by motion
to the court. On January 6, 2011, you informed me that you would be getting comments
regarding the draft stipulation from your client the following day, and were marking up
the "motion" version. To date, we have not received any revised draft stipulation from
NCBE. Please let us know whether you will sign the "motion" stipulation, once again
attached, or whether Stephanie needs to pursue her other accommodations with the
court, as well.


Sincerely,


Anna Levine
Enclosure (1)




                                             2
                Case 3:09-cv-05191-CRB           Document 119-14    Filed 01/14/11   Page 4 of 7


                     LAURENCE W. PARADIS (CA Bar No. 122336)
                 1   IparadisAdralecal.orq
                     ANNA LEVINE (CA Bar No. 227881)
                 2   alevine@dralegal.org
                     KARLA GILBRIDE (CA BAR NO. 264118)
                 3   kgilbridedralegal.orq
                     DISABILITY RIGHTS ADVOCATES
                 4   2001 Center Street, Third Floor
                     Berkeley, CA 94704
                 5   Telephone: (510) 665-8644
                     Facsimile: (510) 665-8511
                 6   TTY:        (510) 665-8716
                 7   SCOTT C. LABARRE (pro hac vice)
                     LABARRE LAW OFFICES, P.C.
                 8   1660 S. Albion Street, Ste 918
                     Denver, Colo 80222
                 9   Telephone: (303) 504-5979
                     Fax:         (303) 757-3640
                10   slabarreAlabarrelaw.com
                11    DANIEL F. GOLDSTEIN (pro hac vice)
                      dfcabrowngold.com
                12    BROWN, GOLDSTEIN & LEVY, LLP
(9,. . ,              120 E. Baltimore St., Suite 1700
                13    Baltimore, MD 21202
4                     Telephone: (410) 962-1030
t--
                14    Fax:         (410) 385-0869
           oo
                15   Attorneys for Plaintiff
                16   [add defense counsel to caption]
                17
                18                               UNITED STATES DISTRICT COURT
                19                              NORTHERN DISTRICT OF CALIFORNIA
                20
                     STEPHANIE ENYART                              Case NO. C09-05191
                21
                                                                   NOTICE OF STIPULATION AND
                22                                                 AGREEMENT BETWEEN STEPHANIE
                                   Plaintiff,                      ENYART AND NATIONAL
                23                                                 CONFERENCE OF BAR EXAMINERS
                     V.                                            REGARDING FEBRUARY 2011
                24   NATIONAL CONFERENCE OF BAR                    ADMINISTRATION OF MULTISTATE
                     EXAMINERS,                                    BAR EXAM
                25
                26                 Defendant.
                27
                28
Case 3:09-cv-05191-CRB             Document 119-14             Filed 01/14/11   Page 5 of 7



          The parties to the above-captioned action, Plaintiff Stephanie Enyart and
  Defendant National Conference of Bar Examiners (hereinafter, "the Parties"), jointly
  stipulate and agree as follows:


          1. With respect to the February 2011 administration of the California Bar exam,
              NCBE shall provide the State Bar of California, Committee of Bar Examiners
              (the "State Bar") with the Multistate Bar Examination ("MBE") loaded onto a
               laptop computer equipped with Windows XP, Word 2003, JAWS version 12
               and MAGic version 11 software, with the examination displayed in 14-point
              Arial font.
           2. NCBE shall deliver the NCBE laptop to the State Bar for arrival on or before
               February 17, 2011, and request the State Bar to make the NCBE-provided
               laptop available to Ms. Enyart and a technical expert of her choice (the
               "technical expert") on February 17, 2011 for inspection and set-up. Inspection
               and set-up shall include permission to connect Ms. Enyart's monitor,
               keyboard and mouse (the "peripherals") to the NCBE laptop and to test the
               functionality of JAWS and MAGic to ensure that all software and hardware on
               the system are functioning properly.
           3. NCBE shall request the State Bar to make the NCBE-provided laptop
               available to Ms. Enyart and a technical expert of her choice again on
               February 21, 2011 for set up in the secure testing area. Set up shall include
               permission to connect the peripherals to the NCBE laptop and to again test
               the functionality of JAWS and MAGic to ensure that all software and hardware
               on the system are functioning properly.
           4. NCBE will make an NCBE representative knowledgeable about the
               configuration of the NCBE laptop available by telephone on February 17,
               2011 and February 21, 2011, at a pre-established, mutually convenient time


   Enyart v. National Conference of Bar Examiners, et al., Case No.:
   NOTICE OF STIPULATION AND AGREEMENT
                                                                                                1
Case 3:09-cv-05191-CRB             Document 119-14             Filed 01/14/11   Page 6 of 7



                between 8:30 a.m. and 4:00 p.m. CST, to work with Ms. Enyart and the
                technical expert on troubleshooting any technical or compatibility issues.
             5. NCBE will permit the laptop computer to remain set up with the peripherals
                connected in the testing room from February 21, 2011 through the
                administration of the MBE to Ms. Enyart on February 26 and 27, 2011, with
                storage and security of the NCBE laptop being ensured by State Bar
                personnel. In the event the State Bar declines to provide any of the
                accommodations specified in this order, counsel are to notify the court one
                week prior to the date of the commencement of the Bar examination.
             6. The State Bar shall be responsible for custody of, and access to, the laptop
                once it is delivered to the State Bar. All decisions with respect to the
                administration of the examination shall rest with the State Bar. The MBE shall
                be administered by the State Bar with the above accommodations pursuant to
                the Stipulation Regarding Dismissal Without Prejudice of Defendant State Bar
                of California; Order Thereon filed with the Court on December 9, 2009.
             7. Plaintiff shall post an additional cash bond in the amount of $5,000 with the
                Clerk of the Court by July 1, 2010, and deposited into the registry of the
                Court.
             8. Plaintiff reserves the right to move this Court for other modifications to the
                prior injunctions issued in this case that are not covered by this stipulation.



    Respectfully Submitted,



    Dated:          January , 2011                     DISABILITY RIGHTS ADVOCATES
                                                       By:        /s/ Laurence Paradis



    Enyart v. National Conference of Bar Examiners, et al., Case No.:
    NOTICE OF STIPULATION AND AGREEMENT
                                                                                                  2
Case 3:09-cv-05191-CRB             Document 119-14            Filed 01/14/11       Page 7 of 7



                                                     LABARRE LAW OFFICES, P.C.
                                                     By:       /s/ Scott Labarre


                                                     BROWN, GOLDSTEIN AND LEVY, PLLC
                                                     By:        /s/ Daniel F. Goldstein




                                                     Attorneys for Plaintiff


           COOLEY GODWARD KRONISH LLP
           By:        /s/ Wendy J. Brenner



           Attorneys for Defendant




   Enyart v. National Conference of Bar Examiners, et al., Case No.:
   NOTICE OF STIPULATION AND AGREEMENT
                                                                                                 3
